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                 5                                  UNITED STATES DISTRICT COURT
                 6                                          DISTRICT OF NEVADA
                 7                                                     ***
                 8       UNITED STATES OF AMERICA,                             Case No. 2:12-CR-463 JCM (VCF)
                 9                                             Plaintiff(s),                      ORDER
               10                  v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                            Defendant(s).
               13
               14              Presently before the court is defendant Carolyn Willis-
               15
               16       been filed.
               17       I.     Background
               18              On May 20, 2014, the government filed a third superseding indictment charging Carolyn
               19       Willis-Casey and three co-defendants with 34 counts relating to their alleged scheme to
               20       fraudulently procure United States passports, unemployment benefits, and Nevada identification
               21       cards. (Doc. # 240). Ms. Willis-Casey faces charges for theft of government money in violation of
               22       18 U.S.C. § 1341; conspiracy to commit mail fraud in violation of 18 U.S.C. § 1349; and mail
               23       fraud in violation of 18 U.S.C. § 1341. She is proceeding to trial along with co-defendants Fredrick
               24       Vernon Williams, Jacqueline Louisa Gentle, and Denise Williams.1 Trial is currently scheduled to
               25       begin January 4, 2016. (Doc. # 589).
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                                 A fourth co-defendant, Deon Gentle, pled guilty before this court on April 30, 2013. (Doc.
               28       # 65). The court sentenced him on July 29, 2013, to time served per count to run concurrent with
                        three years (total) of supervised release. (Doc. # 111).
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                1               On October 7, 2015, pretrial services filed a petition for a warrant for an offender under
                2     supervision for Ms. Willis-Casey. (Doc. # 597). On October 8, 2015, this court granted that petition
                3     and issued a summons for the defendant. (Doc. ## 598, 599). Following a pretrial release
                4     revocation hearing (doc. ## 625, 637), Magistrate Judge Hoffman entered an order revoking Ms.
                5     Willis-
                6     paystubs and obtained an apartment and rental insurance . . . under false pretenses,
                7     her pretrial release conditions. (Doc. ## 630; 637 at 3 4). Defendant now moves this court to
                8     reconsider that order under 18 U.S.C. § 3145, arguing that she does not pose a danger to the safety
                9     of any other person or the community. (Doc. # 646).
              10      II.       Legal Standard
              11                                                                       f a person is ordered detained by a
              12      magistrate . . . the [detained] person may file, with the court having original jurisdiction over the
              13
              14      See, e.g., United States v. Koenig, 912 F.2d 1190, 1191-92 (9th Cir. 1990); United States v. Leon,
              15      766 F.2d 77, 80 (2d. Cir. 1985). The court must review the evidence presented to the magistrate
              16                                                                                                 findings are
              17
              18      regarding the propriety of detention. Koenig, 912 F.2d at 1192-93. The court may, but need not,
              19      hold an evidentiary hearing to make this determination. See id.
              20                If a condition of pretrial release is violated, a request to revoke is heard under 18 U.S.C. §
              21      3148, not section 3142. The standards under the two sections are markedly different. United States
              22      v. Gill, 2008 WL 2120069 (E.D.Cal.). Pursu
              23      released under section 3142 . . . and who has violated a condition of his release, is subject to
              24
              25      U.S.C. § 3148(a). Section 3148 further provides that:
              26      ...
              27      ...
              28      ...

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                1            The judicial officer shall enter an order of revocation and detention if, after a hearing, the
                             judicial officer
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                                 (1) finds that there is
                3
                                     (A) probable cause to believe that the person has committed a Federal, State, or
                4                    local crime while on release; or
                5                    (B) clear and convincing evidence that the person has violated any other condition
                                     of release; and
                6
                                 (2) finds that
                7
                                     (A) based on the factors set forth in section 3142(g) of this title, there is no condition
                8                    or combination of conditions of release that will assure that the person will not flee
                                     or pose a danger to the safety of any other person or the community; or
                9
                                     (B) the person is unlikely to abide by any condition or combination of conditions
              10                     of release.
              11                 If there is probable cause to believe that, while on release, the person committed a
                                 Federal, State, or local felony, a rebuttable presumption arises that no condition or
              12                 combination of conditions will assure that the person will not pose a danger to the safety
                                 of any other person or the community. If the judicial officer finds that there are
              13                 conditions of release that will assure that the person will not flee or pose a danger to
                                 the safety of any other person or the community, and that the person will abide by such
              14                 conditions, the judicial officer shall treat the person in accordance with the provisions
                                 of section 3142 of this title and may amend the conditions of release accordingly.
              15
                      18 U.S.C. § 3148(b).
              16
                             If there is probable cause to believe that a defendant has committed a crime while on
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              18
              19
                      U.S.C. § 3148(b)(1)(A). There is no limitation in section 3148(b) regarding the types of categories
              20
                      of Federal, State, or local crimes that will support an order revoking pretrial release. United States
              21
                      v. Soria, No. 2:11-CR-00156-LDG, 2011 WL 3651272, at *6 (D. Nev. Aug. 17, 2011).
              22
                      Furthermore, after a finding that there is probable cause that a defendant violated a federal, state,
              23
                      or local law, section 3148 only requires the court to consider the section 3142(g) factors if
              24
                      defendant successfully rebuts the presumption that there is no condition or combination or
              25
                      conditions that will assure that the defendant will not pose a danger to safety of any other person
              26
                      or the community.
              27
                      ...
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                1     III.    Discussion
                2             On December 2, 2015, Magistrate Judge Hoffman entered an order revoking Ms. Willis-
                3     Casey                                                                   (Doc. # 630). Judge Hoffman
                4     found that there was probable cause that defendant violated two federal, state, or local laws while
                5     on pretrial release: 18 U.S.C. § 1343, wire fraud, and Nevada Revised Statutes § 205.380, obtaining
                6     money, property, rent, or labor by false pretenses. See 18 U.S.C. § 3148(b)(2)(B); (doc. # 630 at
                7     3). The court found further that defendant did not rebut the presumption that no condition or
                8     combination of conditions will assure that she will not pose a danger to the safety of any other
                9     person or the community, which arises under section 3148(b)(2)(B). (Doc. # 630 at 4). Finally,
              10                                                                                                        re
                                                                                 2
              11                                                                     (Id.).
              12              Defendant argues that Judge Hoffman erred by finding that no condition or combination of
              13      conditions existed to ensure the safety of the community. (See doc. # 646 at 4). In support of her
              14
              15      defendant pending her revocation hearing. The bond modifies Ms. Willis-
              16      conditions by (a) requiring prior approval of any rental application by defendant and (b)
              17      prohibiting defendant from manufacturing fictitious documents. Defendant also asserts that this
              18      court should have considered the factors under section 3142(g) in determining whether she poses
              19      a risk to the community.
              20              First, having reviewed this matter de novo, the court adopts                       s factual
              21      finding that there is probable cause that defendant violated two federal, state, or local laws while
              22      on pretrial release: 18 U.S.C. § 1343, wire fraud, and Nevada Revised Statutes § 205.380, obtaining
              23      money, property, rent, or labor by false pretenses. Having reviewed the transcript of the revocation
              24      proceeding, the court finds that defendant admitted to facts that form the basis for a finding that
              25      she violated the first condition of her pretrial release: Do not commit a federal, state, or local
              26      crime. (See doc. # 637 at 3 4). Specifically, Ms. Willis-
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                              2
                              Based on the transcript of the revocation proceeding held in front of Judge Hoffman (doc.
              28      # 637) and the sufficiency of the evidence presented therein, the court declines to hold an
                      evident                                            See Koenig, 912 F.2d at 1192-93.
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U.S. District Judge                                                  -4-
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                1     fraudulent employment paystubs and obtained an apartment and rental insurance, apparently,
                2     under false pretenses.   Id.).
                3
                4     violations of section 1343 and NRS § 205.380 by establishing that defendant made material false
                5     statements in both a rental application and                                    (Doc. # 637 at 4 12).
                6     The government alleged that the statements were made to obtain property interests, were made in
                7     documents subsequently introduced into interstate commerce, and were so introduced via wire
                8     transmissions. (Id.). Defendant did not object to or deny those allegations.3 (See doc. # 637 at
                9     12 16).
              10
              11      finding that Ms. Willis-Casey did not rebut the presumption created by section 3148(b) that no
              12      condition or combination of conditions will assure that she will not pose a danger to the safety of
              13      any other person or the community. At the revocation proceeding, defense counsel argued that this
              14                                              trial release conditions. (Doc. # 637 at 14 15). Therefore,
              15      the violation is not indicative of a pattern of fraudulent behavior. (Id.). Defendant argued further
              16      that the court should take into account that Ms. Willis-Casey filled out the fraudulent applications
              17      only to obtain housing for her then homeless brother, who she was not able to take into her own
              18      home.
              19                                                          is disturbing however. She is currently awaiting
              20      trial on 14 counts of mail fraud, 1 count of conspiracy to commit mail fraud, and 1 count of theft
              21      of government money. The fact that defendant managed to abstain from making false statements
              22      for some period of time during pretrial release does not make it any less alarming that, before even
              23      proceeding to trial on those charges, defendant turned to fraud when confronted with a difficult
              24      family situation.
              25
              26
                              3
                                                                                                              2012 federal
              27      tax returns. Defense counsel argued that this was evidence appropriate only for trial, and that it did
                      not tend to make any element of the pretrial release violation more or less likely. (Doc. # 637 at
              28      9). The government indicated that it offered the evidence to demonstrate a troubling pattern of
                      fraudulent conduct.
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U.S. District Judge                                                   -5-
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                1            Her reliance on the argument that she made the false statements only to help her then
                2     homeless brother, who is a co-defendant and the alleged mastermind of the conspiracy, is
                3     misguided. That fact suggests to the court that a federal indictment, pending trial, and pretrial
                4     release conditions are not sufficient to prevent defendant from continuing to make material false
                5     statements that pose a danger to the pecuniary safety of the community.4
                6     to fraudulently file a rental application in violation of federal and state law at the whim of a co-
                7     defendant is evidence that no condition or combination of conditions will assure that Ms. Willis-
                8     Casey will not pose a danger to the safety of any other person or the community.
                9            Having found that defendant failed to rebut the presumption that no condition or
              10      combination of conditions will assure that Ms. Willis-Casey will not pose a danger to the pecuniary
              11      safety of the community, the court is not required to consider the factors in section 3142(g). See
              12      supra 18 U.S.C. 3148(b).
              13      IV.    Conclusion
              14             The court reviewed the transcript of the revocation proceeding held in front of Judge
              15      Hoffman, as well as the ample evidence produced at the revocation hearing. Having conducted a
              16      de novo
              17      consistent with the foregoing findings of fact and conclusions of law.
              18      ...
              19      ...
              20      ...
              21      ...
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                               The Ninth Circuit has held that economic or pecuniary danger to the community is an
              26      appropriate ground for revocation of pretrial release under chapter 207 of the Bail Reform Act in
                      some cases. See United States v. Reynolds, 956 F.2d 192, 192 (9th Cir. 1992) (holding that
              27      pecuniary danger is a form of community danger with respect to the danger requirement of section
                      3143). The court finds that that analysis applies with equal force here. As in Reynolds, defendant
              28      here stands accused of fraud. Further, defendant has demonstrated a capacity to commit new crimes
                      while on release, in direct violation of her conditions.
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U.S. District Judge                                                  -6-
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                1               Accordingly,
                2               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Carolyn
                3     Willis-
                4     detention order be, and the same hereby is, DENIED.
                5               DATED December 29, 2015.
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                7                                               __________________________________________
                                                                UNITED STATES DISTRICT JUDGE
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